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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                         8:13CR73

       vs.
                                                        FINAL ORDER OF FORFEITURE
JESSICA KRAFT,

                       Defendant.


       This matter comes on before the Court upon the United States= Motion for Final Order of

Forfeiture (Filing No. 157). The Court reviews the record in this case and, being duly advised in

the premises, finds as follows:

       1. On December 8, 2013, the Court entered a Preliminary Order of Forfeiture (Filing No.

141) pursuant to the provisions of Title 21, United States Code, Sections 846 and 853 based upon

the Defendant=s plea of guilty to Count I and the Forfeiture Allegation of the Superseding

Information filed herein. By way of said Preliminary Order of Forfeiture, the Defendant=s interest

in $2,740.00 and $3,681.00 in United States currency was forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site, www.forfeiture.gov, for at least thirty consecutive days, beginning on January 10, 2014, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions. A Declaration of Publication was filed herein on March 27, 2014

(Filing No. 156).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff=s Motion for Final Order of Forfeiture should be sustained.
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       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff=s Motion for Final Order of Forfeiture is hereby sustained.

       B.   All right, title and interest in and to the $2,740.00 and $3,681.00 in United States

currency held by any person or entity are hereby forever barred and foreclosed.

       C. The aforementioned currency be, and the same hereby are, forfeited to the United

States of America.

       D. The United States is directed to dispose of said currency in accordance with law.

       DATED this 31st day of March, 2014.


                                                    BY THE COURT:

                                                    s/ Richard G. Kopf
                                                    Senior United States District Judge




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